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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,

                                      Plaintiff,

                                                                     DECISION AND ORDER

                                                                     07-CR-6197L

                       v.

MANOLO RIJO,


                              Defendant.
________________________________________________


       Defendant, Manolo Rijo (“Rijo”), was charged with possession of cocaine with intent to

distribute. Defendant filed various motions, including a motion to suppress identification evidence.

Specifically, defendant challenges the identification procedures utilized by the Government.

       This Court referred all pretrial motions in this case to United States Magistrate Judge

Jonathan W. Feldman pursuant to 28 U.S.C. § 636(b). Magistrate Judge Feldman conducted a

suppression hearing at which several witnesses testified. At the conclusion of the suppression

hearing proceedings, Magistrate Judge Feldman issued a thorough Report and Recommendation

(Dkt. #114) in which he recommended that defendant’s motion to suppress be denied.

       The time within which to file objections to that Report has now elapsed and no objections

have been filed. The taped proceedings of the suppression hearing have been made available to me

for review. I have carefully reviewed the Report and Recommendation of Magistrate Judge

Feldman, and I believe there is no basis to modify or reject his Report and Recommendation.
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        Magistrate Judge Feldman carefully reviewed the evidence relating to the identification

procedures conducted on November 6 and November 8, 2007 with the relevant witnesses.

Magistrate Judge Feldman described the nature of the witnesses’ prior contact with the defendant,

as well as the procedures utilized to exhibit the photographic array to the witnesses. I find, as did

the Magistrate Judge, that there was nothing unduly suggestive involved in the presentation of the

array nor was there anything unique or unduly suggestive about the photographs themselves.

        In light of all these circumstances, I reject defendant’s contention that these procedures were

unduly suggestive so as to create a substantial likelihood of misidentification. On the contrary, I

find no such suggestivity whatsoever. In sum, I find, as did Magistrate Judge Feldman, that neither

the photographs themselves nor the manner by which they were presented to the witnesses were

suggestive.



                                          CONCLUSION

        I accept and adopt the Report and Recommendation (Dkt. #114) of United States Magistrate

Judge Jonathan W. Feldman. Defendant Manolo Rijo’s motion to suppress identification evidence

is in all respects denied.

        IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge

Dated: Rochester, New York
       November 30, 2009.


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